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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


SIEMENS PRODUCT LIFECYCLE
MANAGEMENT SOFTWARE INC.,
                     Plaintiff,                 Case No.: 4:18-cv-2344

v.                                              JURY TRIAL DEMANDED
DOES 1 - 107,
                     Defendants.



     PLAINTIFF SIEMENS PRODUCT LIFECYCLE MANAGEMENT SOFTWARE INC.’S
           OMNIBUS RESPONSE TO OBJECTIONS AND MOTION TO QUASH

       Plaintiff Siemens Product Lifecycle Management Software Inc., (hereinafter

“Siemens PLM” or the “Plaintiff”), files this Omnibus Response in Opposition to

Objections filed individually by Doe #19 [Dkt. 15]; #27 [Dkt. 16]; Pushpa M. [Dkt. 12 &

17]; Docket Entry 13; and Motion to Quash filed by Doe # 55 [Dkt. 18] (collectively, “Doe

Defendants”).1




1
  Siemens PLM cannot associate Doe Defendant Pushpa M. and Docket Entry 13 with a
particular IP Address or Doe number. Docket Entry 13 objected through counsel, Moss
Gropen, Esq., but provided no identifying information upon which to properly address it
in this Response. Likewise, Pushpa M. did not provide an IP address or identifying doe #
but instead only provided what appears to be the individual’s first name and surname initial.
[Dkt. 12 & 17].
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                                        SUMMARY

      1.      Doe Defendants object and ask the Court to quash the subpoena issued to

Charter Communications, Inc. (“Charter”). The Court should deny all relief sought by Doe

Defendants.

      2.      District Courts of the Fifth Circuit consistently reject doe defendants’ efforts

to prevent Internet Service Providers’ (ISPs) compliance with lawful subpoenas identical

to the one at issue here.2 Still, Doe Defendants ask this Court to (1) ignore precedent to

engage in premature analyses of personal jurisdiction and joinder and (2) quash Siemens

PLM’s valid subpoena without addressing any burden, as required by Rule 45, that the

subpoena places on Doe Defendants.

      3.      Accordingly, Siemens PLM respectfully requests the Court deny all of the

relief sought by Doe Defendants and order Charter to produce full and complete subscriber

information in accordance with the subpoena.

                                      BACKGROUND

      4.      Plaintiff Siemens PLM faces a problem of piracy that the United States

Supreme Court has described as “infringement on a gigantic scale.” See Metro-Goldwyn-

Mayer Studios, Inc. v. Grokster Ltd., 545 U.S. 913, 940 (2005). Like many other software

copyright owners, Siemens PLM has seen its copyright protections circumvented and its


2
 See e.g., Siemens Product Lifecycle Management Software, Inc. v. Does 1-100, No. 4:16-
CV-01422, Dkt. 29 (S.D. Tex. November 4, 2016) (Order attached as Exhibit A); Siemens
Product Lifecycle Management Software, Inc. v. Does 1-100, Doe 16, & Doe 17, No. 4:15-
CV-00582, Dkt. 26 (E.D. Tex. July 7, 2016) (Order attached as Exhibit B); Siemens
Product Lifecycle Management Software, Inc. v. Does 1-100, No. 4:15-CV-17-LG-CMC,
Dkt. 24 (E.D. Tex. July 23, 2015) (Order attached as Exhibit C).

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 valuable copyrighted software illegally copied and shared among unlicensed users. This

 illegal copying and use not only violates Siemens PLM’s intellectual property rights, but

 also unfairly disadvantages Siemens PLM’s licensed customers that must compete with

 software pirates and unlicensed users in the marketplace.

        5.     In this suit, Siemens PLM seeks to protect and enforce its exclusive rights

 under the Copyright Act and seeks redress for violations of its intellectual property rights.

 To do that, Siemens PLM sought leave from this Court to subpoena an ISP, Charter, to

 identify the names, addresses, and email addresses of the Doe Defendants who are the

 subscribers associated with the IP addresses at which unlawfully copied versions of its

 software were used. The Court granted Siemens PLM leave to do so. [Dkt. 8]. Absent

 this identifying information, Siemens PLM cannot serve the Defendants and protect its

 copyrights against the Defendants’ unlicensed use.

        6.     Siemens PLM files this response to the objections and Motion to Quash and

 asks the Court deny all of the relief sought by Doe Defendants and order Charter to produce

 the full and complete subscriber information in accordance with the subpoena.

                                         ARGUMENT

I.      The joinder analysis sought by Doe #55 is premature.

        7.     Doe #55 asks this Court to engage in a premature analysis of joinder using

 IP addresses. [Dkt. 18 at 8]. The Court should decline this request. See Order re Motions

 to Dismiss, Quash, and Seal, attached from Cause No. 4:15CV-17-LG-CMC as Exhibit C

 (“[T]o the extent Doe 76 argues for dismissal based on his contention that he has been

 improperly joined … such argument is premature.”). Siemens PLM is simply engaging in


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       appropriately “limited discovery to identify the proper defendants to be named in this

       lawsuit,” as has been permitted by this Court. See id.; (citing Call of the Wild Movie, LLC

       v. Smith, 274 F.R.D. 334, 345 (D.D.C. 2011))3.

 II.          Although any analysis of joinder is premature, joinder is nevertheless proper.

              8.       Despite Doe #55’s contention that Siemens PLM “provides no allegation in

       its Complaint to support joinder,” [Dkt. 18 at 9], Siemens PLM uses the permissive joinder

       rules to join defendants who used “cracked” versions of Siemens PLM’s software that

       likely originated from a hacking group known as “SolidSquad.” Therefore, to the extent

       that an analysis of joinder is not wholly premature, the cases cited by Doe #55 relate to

       peer-to-peer sharing networks that do not support the relief it requests because Siemens

       PLM’s claims are not based on the use of peer-to-peer sharing networks. Furthermore,

       after obtaining the information it seeks, Siemens PLM can then substitute the does’

       identities for their IP address in accordance with the Rules of Civil Procedure. See Order

       re Motions to Dismiss, Quash, and Seal, attached from Cause No. 4:15CV-17-LG-CMC

       as Exhibit C.

III.          The personal jurisdiction analysis sought by Doe #55 and Docket Entry 13 is
              similarly premature.

              9.       Doe #55 and Docket Entry 13 ask the Court to depart with precedent and

       engage in a premature analysis of personal jurisdiction. See W. Coast Prods., Inc. v. Does

       1-351, No. 4:12-cv-00504, 2012 WL 2577551, at *3 (S.D. Tex. July 3, 2012) (Atlas, J.)

       (“Analysis of personal jurisdiction is premature when Plaintiff has not identified and


       3
        See also Exhibits A - C (denying doe defendants’ similar motions to quash based on lack
       of personal jurisdiction and improper joinder as premature).

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  named the Defendants against whom claims in fact will be asserted.”). The Court should

  decline this invitation, as it has done previously.4

         10.    Once defendants have been identified and Siemens PLM has the opportunity

  to substitute the actual defendants, the Court can engage in a coherent analysis of personal

  jurisdiction and joinder, if necessary. Indeed, this is precisely what District Courts in the

  Fifth Circuit have done. See Funimation Entm’t v. Does 1-1,427, No. 2:11-CV-00269,

  2013 WL 5200453, at *3 (E.D. Tex. Sept. 16, 2013) (assessing the exercise of personal

  jurisdiction over doe defendant after he was substituted for an IP address following his

  ISP’s compliance with the Court’s subpoena); see also W. Coast Prods., Inc., 2012 WL

  2577551, at *3 (analysis of personal jurisdiction before defendants are named is

  premature). However, if the Court were to conduct the personal jurisdiction analysis at

  this juncture, it could consider neither the movant’s conduct in relation to the other

  defendants nor the actions of the person that holds that IP address. Sensibly, this Court has

  rejected other previous invitations to conduct this analysis based on information it knows

  to be incomplete. See W. Coast Prods., 2012 WL 2577551, at *3.

IV.      The objections and Motion to Quash fail to meet the burden for quashing the
         Subpoena.

         11.    Rule 45(d)(3) provides that upon affected party’s timely motion, a subpoena

  may be quashed or modified when it (i) fails to allow a reasonable time to comply; (ii)

  requires a person to comply beyond geographical limits specified in Rule 45(c); (iii)



  4
   See Exhibits A - C (denying doe defendants’ similar motions to quash based on lack of
  personal jurisdiction and improper joinder as premature).


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       requires disclosure of privileged or other protected matter, if no exception of waiver

       applies; and (iv) subjects a person to undue burden. FED. R. CIV. P. 45(d)(3)(A). Giving

       each of the objections and the Motion to Quash the most generous reading, Siemens PLM

       understands that to the extent an argument the compliance would be unduly burdensome,

       each Doe Defendant has provided insufficient argument or authority to support its

       assertion.

              12.   As the moving parties, Doe Defendants have the “heavy burden” of

       establishing that compliance with the Subpoena would be unreasonable and oppressive.

       See Williams v. City of Dallas, 178 F.R.D. 103, 109 (N.D. Tex. 1998). When moving to

       quash a subpoena, a movant must show how the requested discovery was overly broad,

       burdensome, or oppressive by submitting affidavits or offering evidence revealing the

       nature of the burden. See Merrill v. Waffle House, Inc., 227 F.R.D. 475, 477 (N.D. Tex.

       2005). Doe Defendants offer nothing—they identify no actions they would have to take

       or forebear upon because of Charter’s compliance with the subpoena.         Indeed, the

       Subpoena places no burdens on Doe Defendants; the only action necessary for compliance

       with the Subpoena will be taken by Charter. Therefore, each objection and the Motion to

       Quash should be denied for failing to meet the burden of proving one of the applicable

       Rule 45 arguments for quashing a subpoena.

III.          Doe #19, #27, and Pushpa M.’s unsworn statements regarding their use of
              Charter’s internet service are not grounds for quashing the subpoena.

              13.   In an effort to prevent Siemens PLM from obtaining lawful discovery, some

       of the Doe Defendants offer unsworn statements that address the merits of a potential



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copyright claim against the accountholders associated with the IP Address. This is

insufficient to prevent disclosure of the requested information. For example, Doe #19’s

objection states that it “is my sincerest belief that I have done nothing wrong and did not

knowingly or intentionally violate any copyright laws or benefit in any form financially or

otherwise.” [Dkt. 15]. Similarly, Doe #27’s objection states that he or she “unintentionally

used the unlicensed software once only for my course project” and is therefore claiming

that the infringement “should be considered as ‘fair use.’” [Dkt. 16]. Similarly, Pushpa

M. objects and requests that the Court dismiss the case as he or she is “not a beneficiary

and have no knowledge any software file sharing has been done by us.” [Dkt. 12 & 17].

These statements do not justify quashing Siemens PLM’s lawful subpoena, as they

seemingly are directed to the merit of Siemens PLM’s claims—an issue not currently

before the Court.

       14.    Siemens PLM takes these to be relevance objections to the subpoena, which

are misplaced, particularly when the information sought is necessary to identifying a party

to the case. “When a subpoena is issued as a discovery device, relevance for purposes of

the undue burden test is measured according to the standard of [Federal Rule of Civil

Procedure] 26(b)(1).” Williams, 178 F.R.D. at 110. Rule 26 provides that “[p]arties may

obtain discovery regarding any matter, not privileged, that is relevant to the claim or

defense of any party” and allows courts to “order discovery of any matter relevant to the

subject matter involved in the action.” FED. R. CIV. P. 26(b)(1); see also Coughlin v. Lee,

946 F.2d 1152, 1159 (5th Cir. 1991) (“Discoverable information is not limited to

admissible evidence.”). Thus, “[u]nder the federal discovery rules, any party to a civil


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action is entitled to all information relevant to the subject matter of the action before the

court unless such information is privileged.” Wiwa v. Royal Dutch Petroleum Co., 392

F.3d 812, 820 (5th Cir. 2004) (internal quotations omitted). Furthermore, “[D]iscovery

requests are relevant when they seek admissible evidence or evidence that is reasonably

calculated to lead to the discovery of admissible evidence.” Id. (internal quotations

omitted) (emphasis added).

         15.   Similarly, any objection based on privacy and confidentiality does little to

negate the “heavy burden” of establishing that compliance with the subpoena would be

unreasonable and oppressive, as required by the Rule. The Court’s order permitting

discovery limits Siemens PLM’s use of this information to “protecting Plaintiff’s rights

under the Copyright Act as enumerated in the Complaint.” [Dkt. 1]. As it has done in

previous cases, Siemens PLM will comply with this Court’s order and use the information

provided in response to the subpoena for the limited purposes permitted by the Court’s

order.

         16.   The narrowness of the information sought by Siemens and the importance of

the information sought to Siemens PLM’s copyright claims—which cannot proceed

without this infringement—weighs strongly in favor of permitting discovery.




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 DATED this 19th day of October 2018.

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                           CERTIFICATE OF SERVICE
I certify that the above document was served via the Court’s CM/ECF system to all
counsel of record on October 19, 2018.
                                           /s/ Robert R. Riddle
                                            Robert R. Riddle




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